                 Case 18-31706-lkg      Doc 35    Filed 08/21/20   Page 1 of 2




               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                        In Proceedings
                                                                              Under Chapter 13
Gary M. Lager and Constance S Lager
                                                                              BK 18−31706−lkg

             Debtor(s)

SSN/Individual Taxpayer ID Number (ITIN):
xxx−xx−0429 xxx−xx−4574


                     ORDER APPROVING MODIFIED PLAN
    The debtor(s) having noticed and filed a proposed modification to their plan on 7/28/2020, no
timely objection having been filed, it is
    ORDERED that the plan is approved as modified.

ENTERED: August 19, 2020                                  /s/ Laura K. Grandy
                                                          UNITED STATES BANKRUPTCY JUDGE
                             Case 18-31706-lkg             Doc 35        Filed 08/21/20         Page 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of Illinois
In re:                                                                                                     Case No. 18-31706-lkg
Gary M. Lager                                                                                              Chapter 13
Constance S Lager
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0754-3                  User: kw                           Page 1 of 1                          Date Rcvd: Aug 19, 2020
                                      Form ID: 180                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 21, 2020.
db/jtdb         Gary M. Lager,   Constance S Lager,   691 E Beckemeyer Ave,   Beckemeyer, IL 62219-1000

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 21, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 19, 2020 at the address(es) listed below:
              Ronald Allan Buch   on behalf of Plaintiff Gary M. Lager Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              Ronald Allan Buch   on behalf of Plaintiff Constance S Lager Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              Ronald Allan Buch   on behalf of Joint Debtor Constance S Lager Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              Ronald Allan Buch   on behalf of Debtor Gary M. Lager Belleville@tbcwam.com,
               G38416@notify.cincompass.com
              Russell C Simon   simontrustee@yahoo.com, pacer@simonch13trustee.com
              United States Trustee   USTPRegion10.es.ecf@usdoj.gov
                                                                                            TOTAL: 6
